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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------X                             10/19/2020
UNITED STATES OF AMERICA,        :
                                 :
                                 :                 00 CR 237(VM)
          -against-              :                    ORDER
                                 :
ADRIAN AGOSTINI,                 :
                                 :
                  Defendant.     :
---------------------------------X
VICTOR MARRERO, U.S.D.J.:

     Defendant     Adrian    Agostini    (“Agostini”)       moves   for   a

sentence reduction pursuant to Section 404 of the First Step

Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5222 (the

“First     Step   Act”).    (See   “Motion,”    Dkt.   No.    617.)    The

Government opposes Agostini’s Motion. (See “Opposition,” Dkt.

No. 619.) Having reviewed the submissions from counsel and

the United States Probation Office as well as the applicable

law, the Court will deny the Motion.

                             I.    BACKGROUND

A.   CONVICTION AND SENTENCING

     Agostini was convicted by a jury of one count of assault

in   aid    of    racketeering,     in   violation     of     18    U.S.C.

§§ 1959(a)(3) and 2 (“Count One”), and one count of conspiracy

to distribute and possess with intent to distribute crack

cocaine, in violation of 21 U.S.C. §§ 812, 841(a)(1), and

841(b)(1)(C) (“Count Two”).

     On April 12, 2005, this Court sentenced Agostini to a


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term of 300 months’ imprisonment followed by six years’

supervised     release.      The    Court     issued       a   written   decision

explaining its sentencing decision on April 13, 2005.                           See

United States v. Agostini, 365 F. Supp. 2d 530, 538 (S.D.N.Y.

2005).   The    Court    found      that     the    adjusted     offense    level

applicable to Count One was 26. See id. at 538. Finding that

the defendant was responsible for approximately one kilogram

of   heroin    in    connection     with     the        conspiracy,   the   Court

determined that the base offense level on Count Two was 32.

Id. at 535. The Court explained that this calculation was

alternatively supported by the fifty grams of crack involved

in the conspiracy, or the combination of the crack and heroin

quantities involved. Id. Taking into account enhancements for

Agostini’s     possession      of    a     gun     in    connection      with   the

conspiracy     and     his   obstruction           of     justice,    the   Court

determined that the adjusted offense level on Count Two was

36. See id. at 537. Applying Section 3D1.4 of the United

States Sentencing Guidelines Manual (the “Guidelines”), the

Court then concluded that the combined offense level was 36.

See id. at 539. Having concluded that Agostini’s criminal

history category was II, the Court identified the applicable

sentencing range of 210 to 262 months. See id.

      Based on a consideration of the factors listed in 18

U.S.C. § 3553(a) (“Section 3553(a)”), the Court concluded


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that Agostini’s conduct warranted an upward departure. See

id. at 539-41. The Court imposed a 300-month sentence --

consisting of 180 months’ imprisonment on Count One and 120

months’   imprisonment        on   Count     Two    --   to    reflect     the

“particularly      heinous”    and   violent       nature     of   Agostini’s

crimes, his lack of remorse, and his intentionally false trial

testimony. See id.

     Agostini has been in custody since November 14, 2000. He

is scheduled to be released from custody around February 4,

2023. Upon his release, his six-year term of supervised

release is scheduled to commence.

B.   PRIOR MOTIONS FOR SENTENCE REDUCTIONS

     Effective November 1, 2014, the United States Sentencing

Commission (“Sentencing Commission”) adopted Amendment 782

("Amendment   782"),    which      modified     Section       2Dl.1   of   the

Guidelines    to   lower   the       sentencing      range     for    certain

categories    of     drug-related          offenses.     The       Sentencing

Commission then adopted Amendment 788 (“Amendment 788”), also

effective November l, 2014, which authorized retroactive

application of Amendment 782 to defendants sentenced before

its effective date. In an August 13, 2015 Decision and Order,

the Court concluded that “had Amendment 782 been in effect at

the time of Agostini’s sentencing, his base offense level

would have been 30 instead of 32, his total offense level


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would    have     been    34   instead         of   36,   and    the     Sentencing

Guidelines range for his sentence, with a Criminal History

Category of II, would have been 168-210 months instead of

210-262 months.” (See Dkt. No. 592, at 6.) Nonetheless, the

Court declined to reduce Agostini’s sentence based on a

consideration of the Section 3553(a) factors. (See id. at 7-

9.)   The   Court     subsequently          denied    Agostini’s        motion       for

reconsideration. (See Dkt. No. 597.)

      On    October      13,   2020,       the   Court    denied    a    motion       by

Agostini for compassionate release, finding that the Section

3553(a)     factors      counseled         against     his   release          to    home

confinement. (See Dkt. No. 665.)

                               II.    LEGAL STANDARD

      21 U.S.C. § 841(b) (“Section 841(b)”) sets forth the

penalties for drug offenses by listing specific sentencing

ranges     that    correspond        to    different      drug   quantities.          To

lessen the sentencing disparities between crack-cocaine and

powder cocaine offenses, Congress changed the quantities of

crack cocaine that trigger Section 841(b)’s penalty ranges in

the Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124

Stat.       2372         (“Fair           Sentencing Act”).             The         Fair

Sentencing Act amended the statutory sentencing ranges only

prospectively,        for      individuals          sentenced      on    or        after

the act came into effect. Dorsey v. United States, 567 U.S.


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260, 281 (2012). The First Step Act of 2018 made the Fair

Sentencing Act’s amendments to these statutory sentencing

ranges retroactive to individuals sentenced for violations

that occurred before August 3, 2010. See First Step Act §

404(b).

     Before    the    Fair      Sentencing   Act,    under      Section

841(b)(1)(A), an offense involving fifty grams or more of

cocaine base triggered a sentence of at least ten years’

imprisonment and up to life imprisonment. Section 2 of the

Fair Sentencing Act raised the threshold quantity for that

sentencing range to 280 grams.

     Likewise,    under      Section   841(b)(1)(B),       an   offense

involving five grams or more of cocaine base resulted in a

sentence of not less than five and not more than forty years’

imprisonment   before     the   Fair   Sentencing   Act.    Now,   that

penalty range applies to offenses involving at least twenty-

eight but less than 280 grams of cocaine base.

     Under Section 841(b)(1)(C), a sentencing range of up to

twenty years’ imprisonment applied to offenses involving less

than five grams of cocaine base before the Fair Sentencing

Act. That sentencing range now applies to offenses involving

less than twenty grams of cocaine base.

     To   be   eligible      for   a   sentence     reduction      under

the First Step Act, a defendant must show, first, that he


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committed a “covered offense,” defined as “a violation of a

Federal criminal statute, the statutory penalties for which

were modified by section 2 or 3 of the Fair Sentencing Act of

2010.” First Step Act § 404(a). Second, the offense must have

been     committed       before      August    3,    2010. Id. Third,     the

defendant       must    not   have    previously      received   a    sentence

reduction under the Fair Sentencing Act or been denied on the

merits     of      a   motion     for   a     sentence     reduction    under

the First Step Act. Id. § 404(c).

       If a defendant meets these three requirements, the Court

may, in its discretion, “impose a reduced sentence as if

sections 2 and 3 of the Fair Sentencing Act of 2010 were in

effect        at       the    time      the      covered     offense      was

committed.” Id. § 404(b)                      (citation              omitted).

The First Step Act does not, however, require the Court to

reduce the sentence of a defendant who is eligible for relief.

See United States v. Thomas, 19 CR 3071, 2020 WL 5523527, at

*2 (2d Cir. Sept. 15, 2020).

       Courts must evaluate First Step Act motions under 18

U.S.C.    §     3582(c)(1)(B)        (“Section      3582(c)(1)(B)”),    which

authorizes courts to “modify an imposed term of imprisonment

to the extent otherwise expressly permitted by statute.”

United States v. Holloway, 956 F.3d 660, 666 (2d Cir. 2020)

(quoting 18 U.S.C. § 3582(c)(1)(B)). Unlike reductions made


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pursuant to 18 U.S.C. § 3582(c)(2), reductions under Section

3582(c)(1)(B) need not comport with any Sentencing Commission

policy statements. Id. A district court “considering whether

to impose a reduced sentence under the First Step Act . . .

retains the same discretion under United States v. Booker,

543 U.S. 220 (2005), to vary from the advisory Guidelines

that   it   would     have    had   at    the   time    of    the    defendant’s

sentencing.” United States v. Moore, 19 CR 1390, 2020 WL

5523205, at *6 n.36 (2d Cir. Sept. 15, 2020).

       When “determining whether and to what extent to exercise

its discretion under the First Step Act to reduce an eligible

defendant’s sentence, a district court is not obligated to

re-calculate     the    defendant’s          Guidelines      range    except    to

reflect     changes    that    flow      from   the    Fair   Sentencing       Act

. . . .” Moore, 2020 WL 5523205, at *1 (2d Cir. Sept. 15,

2020). The Court need not conduct “a plenary resentencing.”

Id. at *6.

                               III. DISCUSSION

       The parties dispute whether Agostini meets the first

eligibility requirement for a sentence reduction, that is,

whether he is currently serving a sentence for a covered

offense “the statutory penalties for which were modified by”

the Fair Sentencing Act.




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      The Government points out that although Agostini was

convicted     of    a    drug      offense          involving        crack     cocaine,

Agostini’s offense level for that count was calculated based

on    judicial     findings        regarding          his   actual       conduct       --

specifically, the Court’s finding that he was responsible for

the   one   kilogram     of     heroin         involved     in     the   conspiracy.

Agostini     responds       that,    for        purposes      of      determining       a

defendant’s eligibility for a sentence reduction, the Court

must focus on the statute of conviction, not the judicial

findings     of    actual     conduct          that    supported         the      Court’s

Guidelines calculations at sentencing. Since the initial

letter exchange between the parties, the Second Circuit has

adopted Agostini’s reading of the First Step Act. See United

States v. Johnson, 961 F.3d 181, 190 (2d Cir. June 5, 2020)

(“[I]t is a defendant’s statutory offense, not his or her

‘actual’     conduct,       that    determines          whether        he    has    been

sentenced for a ‘covered offense’ within the meaning of

Section 404(a), and is consequently eligible for relief under

Section 404(b).”)

      The question then becomes whether the First Step Act

modified the penalties for the statute that the jury convicted

Agostini     of    violating:       Section         841(b)(1)(C).           The    Second

Circuit     “has   not   yet       ruled       on   whether      a    crack       cocaine

conviction whose statutory penalty is not provided by Section


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841(b)(1)(A) or Section 841(b)(1)(B), but instead is provided

by Section 841(b)(1)(C), is a ‘covered offense’ under Section

404 of the First Step Act.” United States v. Aller, 00 CR

977, 2020 WL 5494622, at *13 (S.D.N.Y. Sept. 11, 2020).

District courts within this Circuit remain divided on the

issue.      Compare,    e.g.,   id.    at    *13-14   (concluding    that   a

defendant’s 841(b)(1)(C) conviction is a covered offense),

with United States v. Jennings, 05 CR 6128, 2020 WL 4390699,

at *5 (concluding that a defendant’s 841(b)(1)(C) conviction

is not a covered offense). The circuit courts that have

considered the issue are also divided. Compare United States

v. Woodson, 962 F.3d 812, 817 (4th Cir. 2020)(concluding that

a violation of Section 841(b)(1)(C) is a covered offense),

and United States v. Smith, 954 F.3d 446, 449 (1st Cir. 2020)

(same), with United States v. Birt, 966 F.3d 257, 265 (3d

Cir.     2020)    (concluding         that   a   violation     of   Section

841(b)(1)(C) is not a covered offense), and United States v.

Foley, 789 F. App’x 534, 536 (11th Cir. 2020) (same).

       In   Smith,     the   First    Circuit    reasoned    that   “[s]ince

§ 841(b)(1)(C) is defined in part by what § 841(b)(1)(A) and

§ 841(b)(1)(B) do not cover, a modification to the latter

subsections      also    modifies      the   former   by    incorporation.”

Smith, 954 F.3d at 450. The First Circuit made the compelling

practical point that because the statutory drug quantities


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“likely have an anchoring effect on a sentencing judge’s

decision making,” the increase in the upper bound of the drug

quantity from five to twenty-eight grams is significant “even

for defendants guilty of distributing less than five grams of

crack.”   Id.    at   451.     Given       this   anchoring   effect,        “even

defendants      sentenced      for     crack      offenses    under      Section

841(b)(1)(C)     prior    to    the    Fair       Sentence   Act   would     have

experienced the crack-to-cocaine sentencing disparities that

the Fair Sentencing Act and the First Step Act were designed

to soften.” Aller, 2020 WL 5494622, at *14.

     Ultimately, however, the Court need not resolve the

question of whether a Section 841(b)(1)(C) conviction is a

covered offense at this time. Even assuming that Agostini is

eligible for a sentence reduction and accepting his revised

Guidelines      calculations,        the    Court    declines      to   grant    a

reduction in sentence.

     Agostini observes that the Court’s calculation of his

base offense level on Count Two was supported by the Court’s

finding   that    the    conspiracy         involved    50   grams      of   crack

cocaine. See Agostini, 365 F. Supp. 2d at 535 (“The Court

finds that this base offense level, although determined above

on the basis of the heroin business conducted by the Crew,

could alternatively be supported by looking at the total

amount of crack involved in the conspiracy, which the Court


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has previously determined to be fifty (50) grams and which

Mr. Agostini had a part in dealing as a member of the

conspiracy. . . .”). Agostini observes that fifty grams of

crack cocaine resulted in a base offense level of 32 in 2004,

but now yields a base offense level of 26. Agostini argues

that,   assuming     application    of   the   previously    applied

enhancements, his adjusted offense level on Count Two would

be 30. He argues that application of Guidelines Section 3D1.4

would yield a combined offense level of 34, which, with a

criminal history category of II, results in a sentencing range

of 168 to 210 months. The Government does not dispute these

calculations.

     Yet, consideration of the Section 3553(a) factors weighs

against granting a reduction. Agostini notes that he is now

thirty-nine years old and has served a substantial portion of

his sentence; earned his GED; and participated in various

educational programs, including programs focused on reentry,

alternatives    to   violence,     construction   management,     and

cryptocurrency. He is also meeting regularly with a counselor

to develop a reentry plan. While the Court commends the steps

Agostini has and is taking to rehabilitate himself and plan

for his reentry, the Court is not persuaded that a reduced

sentence would adequately reflect the “the Section 3553(a)

goals of punishment, deterrence, and rehabilitation given the


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‘extreme gravity of the crimes.’” (Dkt. No. 592 (quoting

Sentencing Tr. at 44).)

     First,       the    nature       of    Agostini’s      offense      was

“particularly      heinous      and    of    exceptional      depravity.”

(Sentencing Tr. at 44.) Hours after Agostini returned from

the hospital after the birth of his first child, Agostini

slashed a man’s throat, inflicting injury that likely would

have resulted in the victim’s death had a passerby not come

to the victim’s aid. See Agostini, 365 F. Supp. at 540. Were

it not for the passerby, Agostini would have been responsible

for murder rather than aggravated assault. See id. Following

the assault, Agostini went to a bar where he boasted about

his role in the assault in a manner that suggested he believed

he had actually killed the victim. See id. And Agostini had

endeavored to increase his position within an exceptionally

violent   gang.    See    id.   The    nature    and     circumstances    of

Agostini’s crimes is unchanged by his rehabilitative efforts

and weighs against a sentence reduction.

     Even     taking     into     account     Agostini’s      efforts     to

rehabilitate      himself,      his    history     and    characteristics

continue to weigh against a sentence reduction. The Court has

previously     observed      that     Agostini’s       “Criminal   History

Category failed to account for the numerous violent narcotics

transactions with which Agostini had been involved.” (See


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Dkt. No. 592.) Additionally, rather than demonstrating any

remorse for his crime or respect for the rule of law, Agostini

provided intentionally false testimony at trial regarding his

conduct. See Agostini, 365 F. Supp. at 540.

     Finally, the factors listed in Section 3553(a)(2)(B)–

(C) -- the need “to afford adequate deterrence to criminal

conduct,”   including   “to   protect   the   public   from   further

crimes of the defendant” -- also counsel against a sentence

reduction. Agostini participated in a large-scale and long-

running   drug   conspiracy   and     viciously   attacked    another

person. The Court is not persuaded that a reduced sentence

would provide just punishment for the offense and afford

adequate deterrence to criminal conduct.

     Accordingly, it is hereby

     ORDERED that the motion of defendant Adrian Agostini for

a sentence reduction (Dkt. No. 617) is DENIED.

SO ORDERED.

Dated:      New York, New York
            19 October 2020
                                    ___________________________
                                           Victor Marrero
                                             U.S.D.J.




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